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FILED .

UNITED sTATEs DISTRICT CoURT
MIDDLE DISTRICT 0F FLoRIDA _
OCALA DIVISIoN 2018 FEB -9 PH 12- 3b
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THOMAS GRoss, C`“,§;%’SL%Sm§rmct oF FL
ocALA Fi.oRioA
Plaintiff,
V.
CAsENo.; §§ \?, C\[,L q-Oc» 33 P££-/

CAPIO PARTNERS, LLC,

 

Defendant.
/
COMPLAINT
l. Unwanted “Robocalls” are the #1 consumer complaint in America today.
2. The people complaining about harassing robocalls is increasing at an alarming rate.

In 2014, 1,949,603 complained to the Federal Trade Commission (FTC) and Federal
Communications Cornmission (FCC), in 2015 this number was 2,636,477 and in 2016 it was
3,857,627. In 2017, between January and August the FTC alone has received more than 3,500,000
robocall complaintsl

3. Defendant, Capio Partners, LLC (“Capio Partners” and/or simply “Defendant”),
robocalled the Plaintiff at least 5 times.

4. Capio Partners has a corporate policy to robocall people thousands of times.

5. “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the scourge of
modern civilization. They wake us up in the morning; they interrupt our dinner at night; they force
the sick and elderly out of bed; they hound us until we want to rip the telephone out of the wall.’

137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to give telephone

 

' It is important to recognize these merely reflect the number of individuals that complained to these agencies; the
number of people that have been victimized by illegal roboca|ling abuse could be close to 100,000,000 in the last 3
years

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subscribers another option: telling the autodialers to simply stop calling.” Osorio v. State Farm
Bank, F.S.B., 746 F. 3d 1242, 1256 (1 lth Cir. 2014). Despite the penalties put in place over 26
years ago, robocall abuse continues to skyrocket.

6. Plaintiff, Thomas Gross, alleges Defendant, Capio Partners, robocalled him more
than 5 times in stark violation of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq.
(“TCPA”), the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et. seq. (“FDCPA”), the
Florida Consumer Collection Practices Act, Fla. Stat. § 559.55 et seq. (“FCCPA”) and Invasion of
Privacy (“IOP”).

7. Robocalls are very inexpensive to make. As was noted in a Senate hearing on the
subject: “With such a cheap and scalable business model, bad actors can blast literally tens of
millions of illegal robocalls over the course of a single day at less than l cent per minute.”
Stopping Fraudulent Robocall Scams: Can More Be Done?: Hearing Before the Subcomm. on
Consumer Prot., Prod. Safety, and Ins. of the S. Comm. on Commerce, Sci., and Transp., 113
Cong. 113-117 (2013) (statement of Lois Greisman, Assoc. Director, Division of Marketing
Practices, Bureau of Consumer Protection, Federal Trade Commission).

8. Congress enacted the TCPA was enacted to prevent companies like Capio Partners
from invading American citizens’ privacy and to prevent illegal robocalls.

9. Congress also enacted the TCPA to prevent real harm. Congress found that
"automated or pre-recorded calls are a nuisance and an invasion of privacy, regardless of the type
of call" and decided that "banning" such calls made without consent Was "the only effective means
of protecting telephone consumers from this nuisance and privacy invasion." Pub. L. No. 102-243,
§§ 2(10-13) (Dec. 20, 1991), codified at 47 U.S.C. § 227; see also Mims v. Arrow Fin. Servs., LLC,

132 S. Ct. 740, 744 (2012) (“The Act bans certain practices invasive of privacy”).

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10. According to findings by the FCC_the agency Congress vested with authority to
issue regulations implementing the TCPA_such calls are prohibited because, as Congress found,
automated or prerecorded telephone calls are a greater nuisance and invasion of privacy than live
solicitation calls, and such calls can be costly and inconvenient. The FCC also recognized that
wireless customers are charged for incoming calls whether they pay in advance or after the minutes
are used.

JURISDICTION AND VENUE

ll. Jurisdiction and venue for purposes of this action are appropriate and conferred by
28 U.S.C. §1331.

12. Violations described in the Complaint occurred while Plaintiff was a resident
Hemando County, Florida.

FACTUAL ALLEGATIONS

13. Plaintiff is a natural person and citizen of the State of Florida and resides in
Hernando County, Florida.

14. Plaintiff is a “consumer” as defined in Florida Statute § 559.55(8) 15 U.S.C. §
1692(a)(3).

15. Plaintiff is an “alleged debtor.”

16. Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d
1265 (1 lth Cir. 2014); Osorio v. State Farrn Bank, F.S.B., 746 F. 3d 1242 (11th Cir. 2014).

17. Defendant is a Limited Liability Company that conducts business in the State of
Florida.

18. Defendant is a “debt collector” as defined by Florida Statute § 559.55(7) and 15

c U.s.C. § 1692(3)(6).

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19. The debt that is the subject matter of this Complaint is a “consumer debt” as defined
by Florida Statute § 559.55(6) and 15 U.S.C. § 1692(a)(5).

20. Plaintiff is the regular user and carrier of the cellular telephone number at issue,
(773) 314-3196.

21. Plaintiff was the “called party” during each phone call subject to this lawsuit.

22. Defendant intentionally harassed and abused Plaintiff on numerous occasions by
calling several times during one day, and on back to back days, with such frequency as can
reasonably be expected to harass.

23. Defendant did not have the Plaintiff’s “express consent” to call his cell phone.

24. “Express consent” is narrowly construed by the courts.

25. It is Defendant’s burden to prove they had “express consent” per the TCPA to call
the Plaintiff on her cell phone using an “automatic telephone dialing system” (ATDS).

26. It is Defendant’s burden to prove they had “express consent” per the TCPA to call
the Plaintiff on cell phone using an ATDS for each account they were calling on.

27. Plaintiff put Defendant on notice that he did not want it contacting him.

28. Plaintiff repeatedly told Defendant that his bill had been paid and to stop calling.2

29. Defendant did not have the Plaintiff"s express consent to call him on the account(s)
they called him on.

30. Plaintiff unequivocally revoked any express consent Defendant may have
mistakenly believed it had for placement of telephone calls to Plaintiff’s aforementioned cellular

telephone number by the use of an ATDS or a pre-recorded or artificial voice.

 

2 Defendant should have the call logs showing the exact number of` calls and the recordings which should illustrate
exactly _what was said to the Defendant.

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31. Defendant attempted to collect a debt from the Plaintiff by this campaign of
telephone calls.

32. Defendant made at least one call to (773) 314-3196.

33. Defendant made at least one call to (773) 314-3196 using an ATDS.

34. Defendant made at least three (3) calls to (773) 314-3196.

35. Defendant made at least three (3) calls to (773) 314-3196 using an ATDS.

36. Defendant made at least five (5) calls to (773) 314-3196.

37. Defendant made at least five (5) calls to (773) 314-3196 using an ATDS.

38. Each call the Defendant made to (773) 314-3196 in the last four years was made
using an ATDS.

39. Each call the Defendant made to the Plaintiff’s cell phone was done so without the
“express perrnission” of` the Plaintiff.

40. Defendant has called other people’s cell phones Without their express consent.

41. Each call the Defendant made to the Plaintiff was made using an ATDS, which has
the capacity to store or produce telephone numbers to be called, without human intervention, using
a random or sequential number generator; and to dial such numbers as specified by 47 U.S.C §
227(a)(1).

42. The calls at issue were placed by the Defendant using a “prerecorded voice,” as
specified by the TCPA, 47 U.S.C. § 227(b)(l)(A).

43. Plaintiff repeatedly requested the Defendant to stop calling his cell phone,
however, the Defendant continued to make calls.

44. Defendant has admitted to calling cell phones using an ATDS after that person

asked for the calls to stop.

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45. The Defendant ignored Plaintiff’s repeated requests to stop calling him.

46. Defendant has recorded at least one conversation with the Plaintiff.

47. Defendant has recorded numerous conversations with the Plaintiff.

48. Defendant has made approximately five (5) calls to Plaintiff"s aforementioned
cellular telephone number since in or about February of 2016 which will be established exactly
once Defendant turns over their dialer records.

49. Despite actual knowledge of their wrongdoing, the Defendant continued the
campaign of abusive robocalls.

50. Defendant has been sued in federal court where the allegations include: calling an
individual using an ATDS after the individual asked for the calls to stop.

51. By effectuating these unlawful phone calls, Defendants has caused Plaintiff the
very harm that Congress sought to prevent_narnely, a "nuisance and invasion of privacy."

52. Defendant’s aggravating and annoying phone calls trespassed upon and interfered
with Plaintiff’s rights and interests in her cellular telephone and cellular telephone line, by
intruding upon Plaintiff" s seclusion.

53. Defendant’s phone calls harmed Plaintiff by wasting his time.

54. Moreover, "wireless customers [like Plaintiff] are charged for incoming calls
whether they pay in advance or after the minutes are used." In re: Rules Implementing the TCPA
of 1991, 23 FCC Rcd 559, 562 (2007). Defendant’s phone calls harmed Plaintiff by depleting the
battery life on her cellular telephone, and by using minutes allocated to Plaintiff by her cellular

telephone service provider.

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55 . Defendant’s corporate policies and procedures are structured so as to continue to
call individuals like the Plaintiff, despite these individuals having previously revoked any consent
the Defendant may have mistakenly believed it had.

56. Defendant’s corporate policies and procedures provided no means for the Plaintiff
to have his aforementioned cellular number removed from the call list.

57. Defendant has a corporate policy of using an ATDS or a prerecorded or artificial
voice message to collect debts from individuals such as Plaintiff for its financial benefit.

58. As alleged above, Plaintiff expressly revoked any consent Defendant may have
mistakenly believed it had for placing telephone calls to Plaintiff’ s aforementioned cellular
telephone by the use of an ATDS or a pre-recorded or artificial voice immediately upon
Defendant’s placement of the calls. Making money while breaking the law is considered an
incentive to continue violating the TCPA and other state and federal statutes.

59. Defendant never had the Plaintiff"s expressed consent for placement of telephone
calls to her aforementioned cellular telephone by the use of an ATDS or a pre-recorded or artificial
voice.

60. None of Defendant’s telephone calls placed to Plaintiff were for “emergency
purposes” as specified in 47 U.S.C. §227(b)(1)(A).

61. Defendant violated the TCPA, FDCPA and FCCPA with respect to the Plaintiff.

62. Defendant willfully or knowingly violated the TCPA with respect to the Plaintiff.

COUNT I
(Violation of the TCPA)

63. Plaintiff incorporates Paragraphs one (1) through sixty-two (62).

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64. Defendant willfully violated the TCPA with respect to the Plaintiff each time they
called the Plaintiff after he revoked his consent to be called by them using an ATDS or pre-
recorded voice.

65. Defendant knowingly violated the TCPA with respect to the Plaintiff, especially for
each of the auto-dialed calls made to Plaintiff" s cellular telephone after Plaintiff revoked his
consent to be called by them using an ATDS or pre-recorded voice.

66. Defendant, Capio Partners repeatedly placed non-emergency telephone calls to the
wireless telephone number of Plaintiff using an automatic telephone dialing system or prerecorded
or artificial voice without Plaintist prior express consent in violation of federal law, including 47
U.S.C § 227(b)(1)(A)(iii).

67. As a result of Defendant’s illegal conduct, Plaintiff suffered actual damages and,
under § 227(b)(3)(B), is entitled to, inter alia, a minimum of $500.00 in damages for each such
violation of the TCPA.

68. Plaintiff is also entitled to, and does, seek injunctive relief prohibiting Defendant,
Capio Partners, from violating the TCPA in the future.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against Defendant, Capio Partners, LLC, for statutory damages, punitive damages, actual
damages and any other such relief the court may deem just and proper.

COUNT II
(Violation of the FDCPA)

69. Plaintiff incorporates Paragraphs one (1) through sixty-two (62).
70. At all times relevant to this action, Defendant is subject to and must abide by 15

U.S.C. § 1692 et seq.

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71. Defendant engaged in an act or omission prohibited under 15 U.S.C. § 1692(d) by
willfully engaging in conduct the natural consequence of which is to harass, oppress, or abuse any
person in connection with the collection of a debt.

72. Defendant engaged in an act or omission prohibited under 15 U.S.C. § 1692(d)(5)
by causing a telephone to ring or engaging any person in telephone conversation repeatedly or
continuously with intent to annoy, abuse, or harass any person at the called number.

73. Defendant engaged in an act or omission prohibited under 15 U.S.C. § 1692(f) by
using unfair and unconscionable means to collect or attempt to collect any debt.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against Defendant, Capio Partners, LLC, for statutory damages, punitive damages, actual
darnages, costs, interest, attorney fees and any other such relief the court may deem just and proper.

COUNT III
(Violation of the FCCPA)

74. Plaintiff incorporates Paragraphs one (1) through sixty-two (62).

75. At all times relevant to this action Defendant is subject to and must abide by the
law of Florida, including Florida Statute § 559.72.

76. Defendant has violated Florida Statute § 559.72(7) by willfully communicating
with the debtor or any member of his family with such frequency as can reasonably be expected
to harass the debtor or his family.

77. Defendant has violated Florida Statute § 559.72(7) by willfully communicating
with the debtor or any member of her family with such frequency even after Plaintiff explained to
defendant that the payments were set to be taken out of her bank account monthly and that she
knew when her payments were due. This frequency can reasonably be expected to harass the

debtor or her family.

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78. Defendant has violated Florida Statute § 559.72(9) by attempting to enforce a debt
when Defendant knows that the debt is not legitimate or assert the existence of some legal right
when Defendant knows that right does not exist.

79. Defendant’s actions have directly and proximately resulted in Plaintiff’s prior and
continuous sustaining of damages as described by Florida Statute §559.77.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against Defendant, Capio Partners, LLC, for statutory damages, punitive damages,
actual damages, costs, interest, attorney fees, enjoinder of future illegal conduct, and any other
such relief the court may deem just and proper.

M
(Invasion of Privacy - Intrusion Upon Seclusion)

80. Plaintiff incorporates Paragraphs one (1) through sixty-two (62).

81. Defendant through its collection conduct, has repeatedly and intentionally invaded
Plaintiff” s privacy.

82. All of the calls made to Plaintiff’ s cell phone by Defendant and its agents using an
automatic telephone dialing system were made in violation of the TCPA, and were unreasonable
and highly offensive invasions of Plaintiff’s right to privacy.

83. Defendant’s persistent autodialed calls to both her cellular phone and home
telephone eliminated Plaintiff’s right to be left alone.

84. Defendant’s autodialed collection calls disrupted Plaintiff’s privacy, disrupted
Plaintiff’ s sleep, disrupted Plaintiff during mealtimes, disrupted Plaintiff during her work, and

continually frustrated and annoyed Plaintiff.

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85. These persistent autodialed collection calls eliminated the peace and solitude that
the Plaintiff would have otherwise had in Plaintiff’s home and anywhere else Plaintiff went with
her cellular phone.

86. By calling both her home phone and cellular phone, Plaintiff had no escape from
these collection calls either in her home or when she left the home.

87. By persistently autodialing Plaintiff’ s cellular phone without prior express consent,
Defendant invaded Plaintiff’s right to privacy, as legally protected by the TCPA, and caused
Plaintiff to suffer concrete and particularized harm.

88. Defendant’s harassing collection conduct and tactic of repeatedly auto dialing
Plaintiff to both her cellular and home telephone after requests to stop is highly offensive to a
reasonable person.

89. Defendant intentionally intruded upon Plaintiff’ s solitude and seclusion.

90. As a result of Defendant’s action or inaction, Plaintiff has been damaged.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against Defendant, Capio Partners, LLC, for statutory damages, punitive damages,

actual damages and any other such relief the court may deem just and proper.

Respectfully submitted,

s/ William Peerce Howard

William Peerce Howard, Esquire

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